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                                                           Exhibit A to the Complaint
Location: Philadelphia, PA                                                                          IP Address: 100.14.10.248
Total Works Infringed: 26                                                                           ISP: Verizon Fios
 Work       Hashes                                                                UTC        Site          Published    Registered   Registration
 1          Info Hash:                                                            06-16-     Blacked       05-07-2021   06-09-2021   PA0002295580
            6DF59AE95BD1E2AB6024A2D806B7ECED96C49471                              2021
            File Hash:                                                            22:00:49
            81257EA14F9E6CD648CA3C84F68F6A91B67032FD55A247ADCA1F38514DF12A0C
 2          Info Hash:                                                            06-16-     Blacked       04-24-2021   04-27-2021   PA0002288981
            FA4C69825781471C80EE79D41FA5FE8F25ADB724                              2021
            File Hash:                                                            22:00:04
            DA964521E3615BF7784B8D190BEB2B97353E95509DE2B5385978716E65B9A76F
 3          Info Hash:                                                            06-16-     Blacked       01-02-2021   01-05-2021   PA0002269954
            592CC90904C53EF2703DB9CFE9C4184C72214506                              2021
            File Hash:                                                            22:00:03
            23D54B2543E07A11C8AE2914890F822A39159C9D5F9AD4C7BD1A1703C95626AB
 4          Info Hash:                                                            05-02-     Blacked       07-26-2019   09-10-2019   PA0002199417
            DE77246EE34EE1CDD79ED93E2A72D390952AEDBA                              2021       Raw
            File Hash:                                                            06:46:10
            7A9703274C30670E88D5C893C87B8F218D90C72E0AE6635F0BFB38807695E4B7
 5          Info Hash:                                                            05-01-     Blacked       03-20-2021   04-14-2021   PA0002286724
            A6C46908D61E8E6D384E6BABB0BFECCF9985F041                              2021
            File Hash:                                                            15:41:34
            628890935FD96F9E560268FB77DB54D8598118D5BEE83F244EDE7E66CBEC9348
 6          Info Hash:                                                            05-01-     Blacked       11-21-2020   11-30-2020   PA0002266354
            C57AA08E54DCBD782F4B9A53E17C7AB932215387                              2021
            File Hash:                                                            15:41:08
            00501D72C3CEB16F94D0A71BBF3FC9FBC900FB20709FDCE26FD83C39119C9538
 7          Info Hash:                                                            01-19-     Blacked       12-19-2020   01-05-2021   PA0002269959
            86C5F87BA9C2618D57F79C76608F5D883C5439CF                              2021
            File Hash:                                                            04:05:24
            58FBE5F562F65118013731FFA138E1D677C1589287C02171C3829034C0E6DAED
 8          Info Hash:                                                            11-28-     Blacked       04-13-2020   04-22-2020   PA0002237695
            9DB9FB4B8BA753EE10497303C3D69F176B4FD4F5                              2020       Raw
            File Hash:                                                            02:46:47
            F152CC31826114EB7987779359BBED16B063F703548798F5EA01B02543B2AF2D
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         11-28-     Blacked   10-19-2020   11-05-2020   PA0002263389
       30C2E5EEEBDF45D9C83127199FE070EEB091A96C                           2020       Raw
       File Hash:                                                         01:24:36
       363C657260C54421DB941EE3B5764CF3DD8788F6570BF153BC16E19E0081CDC7
10     Info Hash:                                                         11-27-     Blacked   10-31-2020   11-24-2020   PA0002265967
       FB6D45F0A6BD5E28A418EF8AC262EC06C6D4A40B                           2020
       File Hash:                                                         22:30:10
       EE6802769054BFB182B32EB472AE2616FD92D062D9A3A75A2EB5D4BA1B2F0661
11     Info Hash:                                                         11-27-     Blacked   11-02-2020   11-24-2020   PA0002265968
       DE2A31DEAF7DE642D1A76E3E43D4505CF47F8C04                           2020       Raw
       File Hash:                                                         20:15:00
       EAEB2C8533BDDF599E638D39F482EC672B1D7373A45661F686ADE3CD7D0B0E82
12     Info Hash:                                                         11-27-     Blacked   10-12-2020   10-22-2020   PA0002261809
       A2285D359C1A11FC04C46A99A488747938358B65                           2020       Raw
       File Hash:                                                         19:30:43
       985663042B32496D35EC0B21E21BFBA3F6AFF2FDE00ABE14235EABA40310DB82
13     Info Hash:                                                         11-27-     Blacked   10-17-2020   11-05-2020   PA0002263387
       37843E981F023C4F8A614866482FB097EADB6190                           2020
       File Hash:                                                         18:59:33
       E3220ED2ACA24FFAB45B969A40C2B53659F98D2F13A0E8C3D2A45D678DE4B327
14     Info Hash:                                                         11-27-     Blacked   11-16-2020   11-30-2020   PA0002266360
       41DF17AA331A3CE75E9CA818EDC75D225D44E4AE                           2020       Raw
       File Hash:                                                         18:41:56
       A5C52D68CAB30DA1E566E7B990744FEB2669056CB56609CEFE131E17C64CA303
15     Info Hash:                                                         11-27-     Blacked   11-23-2020   12-09-2020   PA0002274806
       AC9A5EE29CBCB4F6D3A3B62BDCA7AFD84BCE5EB0                           2020       Raw
       File Hash:                                                         16:23:26
       443494229C1D0F6C2875311264A7375F811AD1566D902ADF049736CB85269E5C
16     Info Hash:                                                         11-27-     Tushy     02-25-2018   03-01-2018   PA0002079188
       47CE723D84C0A2028A53B98FE9431C963A280E54                           2020
       File Hash:                                                         16:21:04
       3B4131F8980F5B1897C386893963773E40C3EEECE0EF9820C958D8248BE7E58C
17     Info Hash:                                                         11-27-     Blacked   03-21-2018   04-12-2018   PA0002091520
       2F73A144B780B7D386C021B9DFCA2C674931DEE8                           2020
       File Hash:                                                         16:20:58
       F85AE75227D8B66E7A0DEAC0477536890D8F9ECE99E4FA681CC88AAEC3688FDF
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         11-27-     Blacked   11-21-2017   01-04-2018   PA0002069353
       435ACBFEE6F7D35AEB73DBED1A165D6A9121AAEB                           2020
       File Hash:                                                         16:20:49
       8F74612BA49DD11453B67916E736AD80C4332F81DD3BEC3B3F8DF020DC2F0612
19     Info Hash:                                                         11-02-     Blacked   09-05-2020   09-29-2020   PA0002258686
       979CD4F798E6D0277F211C43B2DEAD821781AAB7                           2020
       File Hash:                                                         12:23:37
       E4EF4298821183831E08081314D570BF54150A02DA0ADFFD61F03A99A9653C34
20     Info Hash:                                                         11-02-     Blacked   09-19-2020   09-29-2020   PA0002258681
       E2CA4D4217E8E7EDD519E8CC21101219F0611D8A                           2020
       File Hash:                                                         11:31:56
       DCBE041407D9045781E5318840AEAEEE2E846C4FDB72FA4FF168C59CEC30F0EA
21     Info Hash:                                                         11-02-     Blacked   02-19-2020   03-18-2020   PA0002241617
       549D81C2E31A1CB34CE19937D9D3CEE671D29A4C                           2020
       File Hash:                                                         07:57:18
       C8CCB78689D918D0D79665B3B33C13341BA46849EA640AFB43423CF912D9BAE6
22     Info Hash:                                                         11-02-     Blacked   05-30-2020   06-22-2020   PA0002245635
       3E1B2FFC37EFD8FF20F15FE6983057183F446F26                           2020
       File Hash:                                                         00:09:06
       4D5D1DC20FBEF77EAB20063A078A377175BB0B7951ACC5760C752112F939349E
23     Info Hash:                                                         11-01-     Blacked   10-03-2020   10-22-2020   PA0002261803
       DD6CFFB54ED403DEF8B7C84CA303A48F6DD4E185                           2020
       File Hash:                                                         23:44:19
       964466B3B278ACD333BB146B96EC66EB75636A99F0EB13E90C9F5B00131E63E1
24     Info Hash:                                                         11-01-     Blacked   01-02-2018   01-26-2018   PA0002101761
       DBAA02153CB1ACE3D2D3133FD8A00C6766453DA5                           2020       Raw
       File Hash:                                                         03:38:49
       8F50BCF41DEEA9CB475E77E05BFE90341DA3F03214D1506CC7B08009A850E053
25     Info Hash:                                                         10-19-     Blacked   10-10-2020   10-22-2020   PA0002261812
       AC0797D21F42B3363930AB90674B243D26BE7476                           2020
       File Hash:                                                         00:43:33
       C2884F21FFD7B585B594DD011A368E02E02754736805E2406DE854596FDB30DB
26     Info Hash:                                                         10-19-     Vixen     10-16-2018   10-28-2018   PA0002130458
       832675DAB93182B2C5E5DA5110D4E3E0660CD182                           2020
       File Hash:                                                         00:43:22
       50A6B55F462056F39EB6959B255BD4E4EC371FF03BE75FBB0B5AD8BDA9585848
